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September 9, 2016

VetBridge Product Subsidiary I, LLC
c/o Kevin Speltz
1302 S. 59th St.
St. Joseph, MO 64507

Re:    Exclusive Distribution and License Agreement (the “Agreement”)

Dear Kevin:

On June 27, 2014 NewMarket Pharmaceuticals LLC (“NewMarket” or “we”) and VetBridge
Product Development Subsidiary I, LLC (“VetBridge” or “you”) entered into the Agreement
wherein NewMarket was to develop, manufacture and act as the Drug Sponsor with the FDA
CVM (“FDA”) of the Omeprazole DSI composition for animals (“Omeprazole Products”) and
VetBridge was to be the exclusive distributor and funder of the products in the United States and
its territories.

Since that date, you have funded Four Million Dollars ($4,000,000) and we have taken steps and
studies to get FDA approval for the Omeprazole Products.

At the signing of our Agreement, the FDA position was for a single product with a flexible label
approved for both treatment and prevention of gastric ulcers in horses, which would have
required a single safety study and a single efficacy study to receive both claims. During a
teleconference with the FDA after the signing of our Agreement (in which Doug Rupp
participated), the FDA changed its position and determined the flexible label strategy was no
longer appropriate and should be split into two products, one for “Treatment” and one for
“Prevention” each requiring its own clinical efficacy study. This change in position immediately
increased the projected cost of just the clinical efficacy studies by over $500,000 as described in
the attached chart (Page 4, line 2).

Further, our clinical trial contractor, VetPharm, forecast that ten percent (10%) of the horses
screened for inclusion in the Treatment study would be disqualified for various reasons. The
actual number has turned out to be 10x the number of horses anticipated in the budget, and over
50% of the total number of horses screened for inclusion in the Treatment study. The cost of
these “screen failures” is significant, as each horse must have a series of diagnostics performed
first in order to determine eligibility. These exclusions have led to Treatment efficacy study
costs being more than double what was originally forecast, consequently the total Treatment
efficacy study cost is now estimated at $1,286,000 for an overrun of $674,000 from the revised
budget.




CONFIDENTIAL                    NewMarket Pharmaceuticals LLC                                    1
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These aforementioned overruns with VetPharm led us to our discussions beginning late last year
for additional funding in anticipation of exceeding VetPharm costs. These overruns have led to
efficacy study costs being more than double what was originally forecast, as total efficacy study
costs, for both Treatment and Prevention, are presently estimated at $2,399,000 for an overrun of
$977,000 from the revised two study budget.

In addition to exceeding their development quote by over $400,000 even accounting for a
contingency we built into our original budget (Page 4, line 9), Catalent, which has been our
contract manufacturer since the inception of our Agreement, has made new demands as of April
2016 upon us to pay a monthly retainer fee (“Capacity Reservation Fee”) to keep the
manufacturing facility open in the United States. As this site is the only U.S. site able to
manufacture the products, we opted to enter into this Agreement as it would save at least a year
in approval date by avoiding technical transfer to another Catalent site and, perhaps more
importantly, would preserve a site capable of producing future products containing active
ingredients not approved for use in humans. The cumulative effect of exceeding the
development costs and the capacity reservation fees will result in more than $2,000,000 in
additional costs above the amount forecast for development.

We now wish to advise that we are seeking to raise adequate funds to address the projected
additional costs and develop the Omeprazole Products (including Treatment and Prevention) per
the Agreement and desire for the parties to get back to a good faith working relationship.

To that end, are willing to put the following concepts in writing for your information and
consideration:

       1.     Bryan Ridall shall be appointed the point of contact for Kevin Speltz and
              VetBridge’s FDA consultant continuing rights regarding the Omeprazole Products
              to review all books, records, documents, debts, etc. related to the Omeprazole
              Products project subject to confidentiality.

       2.     NewMarket acknowledges that VetBridge has the exclusive rights in the United
              States under the Agreement to fund and distribute the veterinary products
              containing omeprazole developed by NewMarket. In addition to the review of
              records stated above, Dr. Dave Rock will meet with VetBridge to present an
              update on the scientific findings and provide an update on the approval process.

       3.     A meeting will be scheduled with Kevin Speltz, and any other VetBridge
              member(s) desiring to be present, for Dr. Dave Rock to provide an update on the
              technical and scientific findings regarding the performance of omeprazole in the
              clinical studies and to update VetBridge on the regulatory status of the
              submission(s). We propose this meeting take place no later than 31 October
              2016.

       4.     As noted above, unanticipated expenses were incurred, and continue to be
              incurred, developing the Treatment product. These additional costs have led to an
              increase in the forecasted cost of production. NewMarket and VetBridge will, as




CONFIDENTIAL                    NewMarket Pharmaceuticals LLC                                  2
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              per the Agreement, adjust the transfer price accordingly after VetBridge has the
              opportunity to review these extra expenses.

       5.     The NADA for “Prevention” will be an addition to the NADA for “Treatment”
              and has different concerns surrounding the intellectual property landscape.
              Should the parties determine to pursue the Prevention claim, these additional
              expenses will need to be negotiated with VetBridge as part of the transfer price.

       6.     NewMarket and VetBridge will meet no later than 31 October 2016 to discuss
              VetBridge’s marketing plan, packaging suggestions, sales forecasts, and other
              commercialization plans for the Omeprazole Products.



We hope this letter satisfies you that there will be transparency going forward and with strong
and continuing communications between Bryan Ridall and Kevin Speltz. All parties can stay
abreast of Omeprazole Products development and the parties can look forward to a profitable
future as we move this project into its final stages.


Sincerely yours,

NEWMARKET PHARMACEUTICALS LLC




By:
Mark Ridall, CEO

cc:    Thomas H. Stahl (via e-mail)
       Tom Overbay (via e-mail)




CONFIDENTIAL                   NewMarket Pharmaceuticals LLC                                 3
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                                                                                                                                        Project Budget Chart
                                                                       Line                                                                                     Treatment                 Prevention
                                                                                           Description                       O r i g i n a l B u d g e t1                                                                 Total
                                                                        #                                                                                        Product 2                 Product 3
                                                                         1    Efficacy Study                                $         900,000               $     1,286,000          $      1,113,000            $      2,399,000
                                                                         2            Revised Budget4                       $             -                 $       612,000          $       810,000             $       1,422,000
                                                                         3           VetPharm Overrun                       $             -                 $       674,000          $       303,000             $        977,000
                                                                                                                                                                                                     5
                                                                         4    Safety Study                                  $         800,000               $      571,000                                       $       571,000
                                                                         5    CMC Section                                   $         955,000               $     1,400,000                                      $      1,400,000
                                                                         6             Catalent Quote                       $         715,000               $       715,000                                      $        715,000
                                                                         7              Contingency6                        $         185,000               $       185,000                                      $        185,000
                                                                         8                  API                             $          55,000               $        75,000                                      $        75,000
                                                                         9           Catalent Overrun7                      $             -                 $       425,000                                      $        425,000
                                                                        10    All Other                                     $        1,345,000              $     3,307,000          $        376,000            $      3,683,000
                                                                        11          Catalent License Fee                    $         800,000               $       800,000                                      $        800,000
                                                                        12          ADUFA Sponsor Fee                       $         400,000               $      516,0008                                      $        516,000
                                                                        13              Consultants                         $         145,000               $       200,000          $         25,0009           $        225,000
                                                                        14               pK Study10                         $             -                 $        91,000          $            -              $        91,000
                                                                        15        Capacity ReservationFee11                 $             -                 $     1,700,00012        $            -              $       1,700,000
                                                                        16         ADUFA Application Fee                    $             -                 $           -            $        351,00013          $        351,000
                                                                        17    TOTAL                                         $        4,000,000              $     6,564,500          $      1,489 ,000 14        $      8,053 ,500

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                                                                     The “Original Budget” column represents the original budget at time of contract signing in 2014
                                                                                                                                                                  based on CRO quotes and CVM guidance.
                                                                   2
                                                                     The “Treatment Product” column shows the actual costs incurred to develop the “treatment” product.
                                                                   3
                                                                     The “Prevention Product” column shows the current projected cost to finish development of the “prevention” product
                                                                                                                                                                                      .
                                                                   4
                                                                     Line 2 “Revised Budget” shows the revised budgets for theTreatment”
                                                                                                                               “          and “Prevention” studies, following the change in position by the CVM in December 2014 to
                                                                   abandon the flexible label strategy.
                                                                   5
                                                                        represents work done in support of “Treatment” product, which is expected to be applicable to Prevention”
                                                                                                                                                                        “            product submission for FDA approval.
                                                                   6
                                                                     A contingency was built into our original forecast for anticipated overrun by Catalent.
                                                                   7
                                                                     Actual cost by Catalent to develop the product exceeded the foreca  st contingency by $425,000, and their quote by $610,000.
                                                                   8
                                                                     The increased ADUFA Sponsor Fee is due to the project continuing into 2017.
                                                                   9
                                                                     Estimate.
                                                                   10
                                                                      pK Study was an additional study requested by the CVM.
                                                                   11




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                                                                      New Catalent requirementas of April 2016in order to maintain US manufacturing.
                                                                   12
                                                                      Estimate based on August 2017 approval. Each month there after increases this cost by $250,000.
                                                                   13
                                                                      Estimated based on 2016 fees published by CVM
                                                                   14
                                                                      Estimate based on moving project forward promptly. Significant delay pursuing
                                                                                                                                               in      “Prevention” product will result in significant increase to cost shown, and is subject
                                                                   to regulatory changes by CVM.

                                                                   CONFIDENTIAL                                                    NewMarket Pharmaceuticals LLC                                                                           4
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Important Warning:
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This message is intended for the use of the person or entity to which it is addressed and may
contain information that is privileged and confidential, the disclosure of which is governed by
applicable law. If the reader of this message is not the intended recipient, or the employee or
agent responsible to deliver it to the intended recipient, you are hereby notified that any
dissemination, distribution or copying of this information is STRICTLY PROHIBITED. If you
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    message. You, the recipient, are obligated to maintain it in a safe, secure and confidential
    manner. Unauthorized re-disclosure or failure to maintain confidentiality could subject you to
    penalties described in federal and state law. 
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